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                     IN THE UNITED STATES DISTRICT COURT FOR
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,                      *

VS.                                            *    CR. NO. 04-00175-CG

ANTHONY SAFFORD KING,                          *

        Defendant.                             *

                                            ORDER

        This matter is before the court on the United States’ Motion for Reduction of Sentence

pursuant to Rule 35(b) of the Federal Rules of Procedures.

        Upon due consideration and based on the grounds cited, the United States’ motion is

GRANTED. Therefore, it is ORDERED that defendant Anthony Safford King’s sentence as set

out in the judgment entered on January 21, 2005 (Doc. 79) hereby is amended, and his term of

imprisonment as to Count 2 is reduced from sixty (60) months to forty-two (42) months. This

sentence shall run concurrently with the sentence the defendant is serving upon revocation of SRT

in CR-98-14 of 18 months. All other terms and conditions of the sentence and judgment remain the

same.

        DONE AND ORDERED this 15th day of December, 2006.


                                            /s/ Callie V. S. Granade
                                            CHIEF UNITED STATES DISTRICT JUDGE
